Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 1 of 8 - Page ID#: 1


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UN ITED ST ATES OF Al\1ERJCA



V.


BLAC K DIAMOND COAL, LLC and
WALTER PERKINS




THE GRAND JU RY CHARG ES:

                                        CO UNT I
                                    30 U.S.C. § 820(d)


       A.     At a ll tim es releva nt to this Indictment:

              1.     BLACK DIAMO D COAL, LLC was the Kentucky corporate

operator of the Mine # I underground coal mine in Floy d County. Kenh1d :y. As defined

in T itle 30, United States Code. Section 802(d). the M ine #1 was subj ect to the provisions

of the Federa l Mine Safety and Health Act of 1977, as amended. under 30 U.S.C. § 803.

in that BLACK DIAl\10ND COAL, LLC, utilized equipment manufacture d outside the

Com monwea lth of Kentucky that entered into or affr cted int~rstate commerce.

              2.     \VALTER PERKINS was the certi fie d dust-sampl er at the Mine

# 1. He was an agent as defined in 30 U.S.C. §§ 802(e) & 820(c).
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 2 of 8 - Page ID#: 2




                 3.   BLACK DIAMOND COAL, LLC acted through its agents and

employees, including WALTER PERKINS and other miners, who acted ,vi thin the

scope of their agency and employment for the benefit, at least in part, of BLACK

DIAMOND COAL, LLC.

                 4.   In order to protect the mining industry's "most precious resource -

the miner;· Congress passed the Federal Mine Safety and Health Act of 1977. as

amended by the MINER Act of 2006. A stated purpose of the Mine Act was to provide

working conditions in underground coal mines sufficiently free of rcspirable dust

concentrations so as to permit each miner the opportunity to work underground during

the period of his or her entire adult life without incurring any disability from ·'black lung"

and silicosis.

                 5.   Black lung is an occupational lung disease typically not incurred by

the general population. When coal dust particles enter the lungs, they irritate the delicate

lung tissue and eventually fonn massive impenetrable fibrous tissue that significantly

restricts the lung·s functions and causes scarring. which can lead to lung failure and

death. Once black lung develops. it cannot be reversed. There are no specific treatments

to cure black lung. The chronic effects of black lung may progress even after the miners

are no longer exposed to respirable coal dust resulting in increasing disability and death.

                 6.   Lmvering the concentration of respirable coal mine dust in the air

that miners breathe is the only means of preventing diseases black lung. Major sources of

dust generation in continuous mining operations are continuous mining machines, shuttle
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 3 of 8 - Page ID#: 3




cars and roof boilers. Major control melhods for dust in mining operations are water and

ventilation control systems.

              7.     MSHA ·s mandatory health and safety standards require mining

companies. or ·'operators:• to monitor the respirable coal dust in their min~s every quarter

on consecutive normal production shifts unti I 15 valid representative samples are taken.

30 C.f .R. § 70 .208. This monitoring is also L:alled sampling.

              8.     Sampling must be conducted by a certified person. 30 C .F.R.

§ 70.202(a). A certified person has taken a class and passed a test. 30 C.F.R. § 70.202(6).

Sampling is done using a continuous personal dust monitor (or CPDM). 30 C.F.R.

§ 70.20l(a). CPDMs are sometimes referred to as "dust pumps:· CPDMs must be worn

by miners perfonning specific jobs at specific locations. 30 C.F.R. § 70.208 (designated

occupations) & 30 C.F.R. § 70.209 (designated areas).

              9.     Each CPDM must be worn and operated by the miners being

sampled for a set period of time, portal-to-portal. 30 C.F.R. § 70.20l(c). Portal-to-portal

sampling means the miners must continue to wear the pump. and continue to sample. the

entire time they are underground. 30 C.F.R. § 70.20l(c).

              10.    CPDMs must run the entire sampling period. 30 C.F.R. § 70.20 l(c).

The certified person who is performing the sampling must make certain checks to ensure

the CPDM is working properly. 30 C.F.R. § 70.205(c). Each CPDM must remain with

the miner who is heing sampled. 30 C.F.R. § 70.208(b).
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 4 of 8 - Page ID#: 4




              11.    A sample is only valid if the operator mined a nomrnl production

shift of at least 80 percent of the average production of the most recent 30 production

shifts. 30 C.F.R. § 70.2.

              12 .   The operator is required to maintain the average concentration of

respirable dust in the mine atmosphere during each shift not to exceed 1.5 milligrams of

dust per cubic meter of air as measured by the CPDM. 30 C.F.R. § 70. lO0(a) .

              13.    The certified person must validate. certify. and transmit

electronically to MSHA within 24 hours after the end of the sampling shift all sample

data file information collected and stored in the CPDMi including the sampling status

conditions encountered when sampling. 30 C.F.R. § 70.2I0(f).

       B.     The Offense

              14.    On or about October 8. 2020, in Floyd County. in the Eastern

District of Kentucky,

                            BLACK DIAMOND COAL, LLC,

in a matter within the jurisdiction of the United States Department of Labor. Mine Safety

and Health Administration. willfully violated the mandatory health and safety standards

found in 30 C.F.R. Part 70 by failing to keep a CPDM on the designated miner portal-to-

portal. but instead running the CPDM on the surface in clean air. all in violation of 30

U.S.C. § 820(d) and 30 C.F.R. Part 70.

                                       COUNT 2
                                    30 u.s.c. § 820(f)

              15.    Paragraphs 1-13 are incorporated herein by reference.
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 5 of 8 - Page ID#: 5




              16.    From on or about October 6. 2020. and continuing through on or

about October 7, 2020. in floyd County, in the Eastern District of Kentucky.

                            BLACK DIAMOND COAL, LLC.

in a matter within the jurisdiction of the United States Department of Labor. Mine Safety

and Health Administration. did knowingly make and certify false statements and

representations in its sampling data electronically submined to MSHA. in that it

knowingly submitted CPDM data representing va lid shift samples when in fac t. the

CPDM was not worn by the designated miner portal-to-portal as required by the

regulations, all in violation of 30 U.S.C. § 820(f).

                                         COUNT3
                                     30 U.S.C. § 820(c)

              17.    Paragraphs 1-1 3 are incorporaced herein by reference.

              18.    On or about October 8. 2020. in Floycl County. in the: Eastern

District of Kentucky,

                                   WALTER PERKINS,

while serving as the certified person in charge of sampling, in a maaer within the

jurisdiction of the United States Department of Labor~ Mine Safety and Health

Administration. knowingly violated the mandatory health and safety standards found in

30 C.F.R. Part 70 by failing to keep a CPDM on the designated miner portal-to-portal but

instead running the CPDM on the surface in clean air, all in violat ion of 30 U.S.C.

§ 820(c) and 30 C.F.R. Part 70.
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 6 of 8 - Page ID#: 6




                                        COUNT4
                                     18 u.s.c. § 1001

              19.    Paragraphs l-13 are incorporated herein by reference.

              20.    On or about October 8. 2020, in Floyd County. in the Eastern

District of Kentucky.

                                  \\'ALTE R PERKfNS,

in a matter within the jurisdiction of the executive branch of government of the United

States, specifically the Department of Labor. Mine Safety and Health Administration. did

wi llfully and knowingly make and cause to be made a material false, fictitious. and

fraudulent statement and representation. to wit: he told a federal certified mine inspector

investigating the operations at Mine # l that he had assigned the CPDM to the miner

operator, but that the pump had a malfunction when in truth and in fact he knew that he

never gave the CPDM to the miner operator and the CPDM did not have any

malfunctions. all in violation of 18 U.S.C. § lO0I(a)(2).

                                        COUNT 5
                                     18 u.s.c. § 1001

              21.    Paragraphs 1- l 3 are incorporated hert!in by reter~nce.

              22.    On or about Febrnary 4, 202 1. in Floyd County. in the Eastern

District of Kentucky. and elsewhere.

                                  WALTER PERKLNS.

in a matter within the jurisdiction of the executive branch of the government of the

United States. specifically the Department of Labor. Mine Safety and Health
 Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 7 of 8 - Page ID#: 7




Administration. wi llfu lly and knowingly made and caused to be made a material false.

fictitious. and fraudulent statement and representation to wit: he told a federal MSHA

special investigator. when asked why the CPDM was running outside on October 8. 2020.

that he had taken the CPDM in that morning but had ..brought it right back out because it

had quit. The miner man hollered at me. said that the pump went off and said diagnosis

failure·· and that he had been "having problems with it." when in truth and in fact

WALTER PERKINS kne\v that he never gave the CPDM to the miner operator. the

miner operator never yelled at him. and the CPDM did not have any malfunctions. in

violation of I 8 U.S.C. § 100 l(a)(2).

                                                 A TRUE BILL




CARLTON S. SHI ER, IV
UNITED STATES ATTORNEY
Case: 7:22-cr-00012-REW-EBA Doc #: 1 Filed: 08/17/22 Page: 8 of 8 - Page ID#: 8




                                   PENALTIES

COUNT 1:          Not more than five years probation and/or a fine of not more than
                  $250.000.00 or t,viee the gross gain or loss to a person other than
                  defendant

COUNT 2:         Not less than one year nor more than five years probation and/or a
                 fine of not more than $200,000.000 or twice the gross gain or loss to
                 a person other than defendant

COUNT 3:         Not more than one year imprisonment and/or a fine of $250.000 .00.
                 and not more than one year supervised release

COUNTS 4 & 5:     Not more than five years imprisonment and/or a fine of $250.000,
                  and not more than three years supervised release

PLUS:            Mandatory special assessment of $125 for Count I (organization
                 misdemeanor), $400 for Count 2 (organization felony). $25 for
                 Count 3 (individual misdemeanor), $100 for Counts 4 and 5
                 (individual felony).

PLUS:            Restitution, if applicable.
